Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 1 of 16   PageID #: 1014



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

 FORETHOUGHT LIFE INSURANCE            *
 COMPANY,                              *
                                       *
        Plaintiff,                     *
                                       * CIVIL ACTION NO. 21-00484-TFM-B
 vs.                                   *
                                       *
 DEBORAH STEVENS, et al.,              *
                                       *
        Defendants.                    *

                         REPORT AND RECOMMENDATION

        This action is before the Court on               motions for default

 judgment filed by Defendants Jason Daniel Stevens and Brandon Blake

 Franklin (Docs. 35, 39).         The motions have been referred to the

 undersigned    Magistrate    Judge   for   a   report    and   recommendation

 pursuant to 28 U.S.C. § 636(b)(1)(B) and S.D. Ala. GenLR 72.               For

 the reasons set forth below, the undersigned recommends that both

 motions be GRANTED.

    I. BACKGROUND

        Plaintiff Forethought Life Insurance Company (“Forethought”)

 filed the instant interpleader action against Defendants Deborah

 Stevens, Brandon Blake Franklin (“Franklin”), and Jason Daniel

 Stevens (“Jason Stevens”) on November 5, 2021.            (Doc. 1).   Through

 this   interpleader    action,    Forethought    seeks    to   determine   the

 proper beneficiary of two Forethought fixed annuity contracts,

 each worth approximately $1 million.            (See id.).     The annuities
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 2 of 16   PageID #: 1015



 were purchased and owned by Fred Daniel Stevens, who died on May

 1, 2021.     (Id. at 2-3).      Forethought avers that following Fred

 Daniel Stevens’ death, the company received competing claims for

 the above-referenced annuities.           (Id. at 3). Forethought seeks a

 judgment in this action establishing Defendants’ respective legal

 rights to the death benefits from Fred Daniel Stevens’ annuities,

 and an order discharging Forethought from any liability with

 respect to the annuities.       (Id. at 4-5).

       On January 6, 2022, the Court issued a preliminary scheduling

 order, which directed counsel for the parties to confer and jointly

 submit a report pursuant to Rule 26(f) of the Federal Rules of

 Civil Procedure.     (Doc. 10).     As directed, counsel for all parties

 conferred and jointly submitted a Rule 26(f) report.              (Doc. 13).

 In the report, James Robertson, counsel for Defendant Deborah

 Stevens,    set   forth   Deborah    Stevens’    position   regarding     the

 underlying dispute and advised of his inability to “communicate

 with Mrs. Stevens (‘Debbie’) in the past few days this week[.]”

 (Id. at 3-5).       Mr. Robertson noted that as a result of said

 difficulty, he had not discussed the joint Rule 26(f) report with

 Deborah Stevens.     (Id. at 3).

       At the scheduling conference conducted on March 2, 2022, Mr.

 Robertson reported that he had been unable to contact Deborah

 Stevens for nearly two weeks, that he was representing her in a

 probate case, and that he had not had any problems communicating


                                       2
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 3 of 16         PageID #: 1016



 with her in the past.        (Doc. 16).       Mr. Robertson further advised

 that he had attempted to reach Deborah Stevens by telephone, by

 email, and by written correspondence, but with no success.                  (Id.).

 He also advised that Deborah Stevens has health challenges, and

 that he had checked with local hospitals but had not been able to

 locate her.     (Id.).     The Court directed Mr. Robertson to continue

 his efforts to reach his client.             (Id.).

       Two days later, on March 4, 2022, Mr. Robertson advised that

 he   had   received    a    certified     mail     return   receipt      which   he

 interpreted to indicate that Deborah Stevens was suffering from

 COVID-19 and which, according to Mr. Robertson, explained why

 Deborah Stevens had failed to respond to all of his communications.

 (Doc. 17).     The certified mail return receipt was addressed to

 “Deborah Louise Stevens” and listed her address as “1605 Indian

 Trail Dr., Mobile, AL 36695.”            (Doc. 17-1 at 2).        “Covid 19” was

 written in the “Signature” and “Received by” spaces of the receipt,

 and the date of delivery was listed as February 25, 2022.                   (Id.).

 On March 15, 2022, the Court issued a Rule 16(b) scheduling order.

 (Doc. 19).

       Subsequent thereto, Max Cassady, counsel for Defendant Jason

 Stevens, contacted the Court and requested a discovery conference

 in accordance with the scheduling order.                 On April 1, 2022, the

 Court entered a text order setting this case for a discovery

 conference    on   April    5,   2022.       The   day   before   the    discovery


                                          3
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 4 of 16          PageID #: 1017



 conference,       James    Robertson         filed      Deborah   Stevens’   initial

 disclosures and a motion to withdraw                       as counsel for Deborah

 Stevens.      (Docs.      22,    23).     In      the   initial    disclosures,   Mr.

 Robertson advised that despite his best efforts, he had been unable

 to contact his client in order to verify the initial disclosures.

 (Doc. 22 at 1).      In the motion to withdraw, Mr. Robertson asserted

 that he had been unable to communicate with Deborah Stevens for

 more   than   a    month,       and   that       without    her   communication   and

 participation, it was not possible for him to properly represent

 her or fulfill his obligations pursuant to the Alabama Rules of

 Professional Conduct.           (Doc. 23 at 1-3).          He further asserted that

 there had been a substantial breakdown in the attorney-client

 relationship.       (Id. at 3).         Mr. Robertson also indicated that he

 had received a text communication from Deborah Stevens on April 2,

 2022, and that, if required, he would submit it under seal for the

 Court’s review.        (Id.).         Finally, Mr. Robertson requested that

 Deborah Stevens be provided up to thirty days to retain new counsel

 if his motion to withdraw was granted.                   (Id. at 4).

        On April 5, 2022, the Court held a discovery conference with

 counsel for the parties and, during a recess, conducted an in-

 camera discussion with James Robertson.                      (Docs. 26, 27).      Mr.

 Robertson reported that Deborah Stevens was now refusing mail that

 he had sent to her, and that Deborah Stevens had acknowledged

 through text messages that she was fully aware of his repeated


                                              4
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 5 of 16       PageID #: 1018



 attempts to reach her about this interpleader action.                  According

 to Mr. Robertson, Deborah Stevens offered as reasons for her

 failure to communicate that she had been caring for her mother and

 overseeing “tile” renovations to her house.             (Doc. 27).

       Based on Mr. Robertson’s representations, the undersigned

 determined    that    Deborah    Stevens   had   refused   to    appropriately

 communicate with her counsel despite repeated requests, thereby

 thwarting his efforts to represent her.           (Doc. 26).      Accordingly,

 the undersigned orally granted Mr. Robertson’s motion to withdraw

 from representation of Deborah Stevens and directed him to file

 Deborah Stevens’ contact information with the Court.               (Id.).     The

 Court also granted Deborah Stevens leave until April 19, 2022 to

 retain new counsel and have her new counsel enter an appearance,

 or, in the alternative, to advise the Court of her intent to

 proceed pro se.       (Id.).    In addition, the Court granted Defendant

 Jason Stevens’ request to proceed with the deposition of non-party

 Kevin Couch on April 27, 2022.         (Id.).

       As directed, James Robertson filed with the Court a notice

 containing Deborah Stevens’ contact information.                (Doc. 28).     In

 the   notice,   Mr.    Robertson    asserted     that   “[i]t    is    Counsel’s

 understanding that Deborah is not accepting at this time certified

 or priority mail, as his mailed package of March 25, 2022 was

 returned to Counsel by the United States Postal Service following

 an unsuccessful delivery attempt at her residence.”                (Id. at 2).


                                        5
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 6 of 16    PageID #: 1019



 Mr. Robertson also advised Deborah Stevens that the Court had

 granted his request to withdraw from further representation of

 her, had granted her leave until April 19, 2022 to obtain new

 counsel and have counsel file an appearance, and had ruled that

 Kevin Couch’s deposition could proceed as scheduled on April 27,

 2022.    (Id. at 1).    The notice listed Deborah Stevens’ address as

 “1605 Indian Trail Drive, Mobile, Alabama 36695,” and it also

 included her email addresses and telephone number.                (Id. at 2).

 The notice reflects that it was sent to Deborah Stevens by regular

 mail.    (Id. at 1, 3).

       In a written order dated April 8, 2022, the Court reiterated

 the oral rulings rendered during the discovery conference on April

 5, 2022.     (Doc. 29).     The Court also cautioned Deborah Stevens

 that failure to comply with the directives in the Court’s order

 would result in a recommendation that a default judgment be entered

 against her.     (Id. at 2).

       On April 11, 2022, Max Cassady, counsel for Defendant Jason

 Stevens,    filed   a   first   amended   notice   of   court-reported     and

 videotaped deposition of Deborah Stevens.          (Doc. 31).      The notice

 stated that Deborah Stevens’ deposition was scheduled for April

 26, 2022 at 9:00 a.m. at the office of Burns, Cunningham & Mackey

 in Mobile, Alabama, and reflected that it was served on Deborah

 Stevens by regular mail and email.          (Id. at 1, 7).        On the same

 date, Mr. Cassady also filed a motion to compel Deborah Stevens to


                                       6
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 7 of 16    PageID #: 1020



 respond     to     Jason   Stevens’    interrogatories,      requests      for

 production, and admission requests.            (Doc. 32).         Mr. Cassady

 asserted    that    the    discovery   requests   were    served    on   James

 Robertson, Deborah Stevens’ former counsel, on February 20, 2022,

 that he had conferred with Mr. Robertson regarding the overdue

 responses on March 31, 2022, and that the discovery requests

 remained outstanding.       (Id. at 5).    Mr. Cassady requested an order

 compelling Deborah Stevens to respond to the discovery requests.

 (Id. at 10, 15).

       Despite the Court’s directive for Deborah Stevens to retain

 new counsel or give notice of her intent to proceed pro se by April

 19, 2022, Deborah Stevens failed to do either.            And, her copy of

 the Court’s April 8, 2022 order has not been returned to the Court

 as undeliverable.1 Accordingly, on April 21, 2022, the undersigned

 ordered Deborah Stevens to show cause why the Court should not

 strike her answer and enter a default judgment against her as a

 sanction for her dilatory behavior.          (Doc. 33).    The undersigned

 further ordered Deborah Stevens to            file a response to         Jason

 Stevens’ motion to compel discovery responses no later than April

 29, 2022.     (Id. at 2).      The undersigned again cautioned Deborah

 Stevens that failure to comply with the Court’s directives would

 result in a recommendation that a default judgment be entered


 1 Likewise, emails sent to Deborah Stevens’ email account did not
 generate a message indicating that the emails were not delivered.

                                        7
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 8 of 16        PageID #: 1021



 against her.      (Id.).

       On May 5, 2022, Deborah Stevens filed a response with the

 Court asserting that she had contacted the Court several times to

 advise     that    she      was    “being     taken        advantage    of”     and

 “misrepresented.”          (Doc.   36   at   1).     She    alleged    that   James

 Robertson, her former counsel, knew she was sick and told her to

 get well and not worry about anything.                 (Id.).      According to

 Deborah Stevens, she “was not told about leave” and was unaware of

 a deposition.      (Id.).     She also advised of her intent to remain

 pro se and claimed that her former counsel did not tell her

 “anything about what was going on in court[.]”                    (Id. at 1-2).

 Deborah Stevens also made various factual assertions regarding

 amounts she paid to attorneys and the circumstances surrounding

 the beneficiary forms at issue.           (Id. at 1-3).      She also submitted

 various documents related to the annuities purchased by Fred Daniel

 Stevens.    (Doc. 36-1).

      Also on May 5, 2022, Defendant Jason Stevens filed a motion

 for default judgment against Deborah Stevens for her failure to

 prosecute, willful refusal to follow court orders, and refusal to

 give deposition testimony.              (Doc. 35).     In the motion, Jason

 Stevens alleged that Deborah Stevens had refused to cooperate with

 her former counsel to advance discovery, failed to respond to Jason

 Stevens’ discovery requests, and failed to appear for her duly

 noticed deposition. (Id. at 2-4, 6-12). On May 6, 2022, Defendant


                                          8
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 9 of 16     PageID #: 1022



 Franklin filed a motion joining in Jason Stevens’ motion for

 default judgment.       (Doc. 39).    Franklin asserted that a default

 judgment should be entered against Deborah Stevens due to “her

 complete refusal to cooperate with the Orders of this Court,

 instructions of her former attorney, and non-compliance with the

 Federal Rules of Civil Procedure.”          (Id. at 1).

       In an order dated May 6, 2022, the Court directed Deborah

 Stevens to file a response to Jason Stevens’ motion for default

 judgment by May 19, 2022.        (Doc. 38).    And, on May 10, 2022, the

 undersigned granted, in part, Jason Stevens’ motion to compel

 discovery, as Deborah Stevens had failed to respond to the motion.

 (Doc. 40).        The undersigned directed Deborah Stevens to submit

 complete responses to Jason Stevens’ discovery requests no later

 than May 17, 2022, and to show cause by said date why sanctions

 should not be imposed against her in connection with Jason Stevens’

 motion to compel.       (Id. at 4-5).     The Court also set this matter

 for a status conference on May 20, 2022 and cautioned Deborah

 Stevens that if she failed to personally appear for the conference,

 failed to submit complete responses to Jason Stevens’ discovery

 requests, or failed to show cause why sanctions should not be

 imposed,    the    undersigned   would    recommend    that   her   answer   be

 stricken and a default judgment be entered against her for failure

 to prosecute and obey the Court’s orders.             (Id. at 5).

       On May 13, 2022, Deborah Stevens filed an unsigned, one-


                                       9
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 10 of 16   PageID #: 1023



  paragraph response to Jason Stevens’ motion for default judgment.

  (Doc. 41).    In the response, Deborah Stevens asserted that she had

  not had adequate counsel, had paid out over “70.000” to two lawyers

  and an investigator, had been taken advantage of, did not know

  anything about interrogatories and requests for production, and

  could not “get caught up” because new motions and orders were

  “being filed everyday.”      (Id.). She further asserted that she was

  working on the items “Mr[.] Cassady” requested.          (Id.).

        On May 17, 2022, Deborah Stevens filed an unsigned “response

  to show cause” asserting that sanctions should not be imposed

  against her for her failure to respond to Jason Stevens’ discovery

  requests and motion to compel.2       (Doc. 48).    According to Deborah

  Stevens, she had been forced to stop working on the discovery

  responses to respond to new motions filed by Max Cassady, Jason

  Stevens’ attorney.      (Id.).    She also asserted that she “didn’t

  know any of this was going on in this court until recently” and

  would “have everything for Mr cassady completed by tomorrow[.]”

  (Id.).

        On May 20, 2022, the status conference in this case was

  scheduled to commence at 11:30 a.m.        (See Doc. 40 at 5).     However,

  Deborah Stevens did not appear for the conference until 12:10 p.m.

  Upon her arrival, Deborah Stevens offered no explanation for her


  2 Deborah Stevens also filed a motion to set aside default judgment
  (Doc. 42), which the Court denied as premature. (Doc. 51).

                                       10
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 11 of 16   PageID #: 1024



  tardiness.    When questioned about why she had repeatedly disobeyed

  orders issued by the Court, Deborah Stevens initially indicated

  that she did not know about the orders, and then she blamed her

  former counsel for not keeping her informed.         Later, she contended

  that she had complied with all of the Court’s orders.

        During the conference, counsel for Defendants Jason Stevens

  and Franklin advised that on May 17, 2022, Deborah Stevens emailed

  them a link that purported to contain her discovery responses, but

  they were not able to access the responses utilizing the link.

  According to Max Cassady, counsel for Jason Stevens, they clicked

  on the button requesting access but never received access.              They

  emailed Deborah Stevens on May 19, 2022, and again requested access

  to the documents.    The next day, which was the date of the hearing,

  Deborah Stevens responded to their email and advised that she would

  check into the link following the status conference.

        Mr. Cassady also reported that Deborah Stevens’ deposition

  was scheduled for April 26, 2022, and that the deposition notice

  was mailed and emailed to Deborah Stevens at the addresses listed

  on the Court docket.        According to Mr. Cassady, he had email

  discussions with both Deborah Stevens and Adam Jones, an attorney

  Deborah Stevens had consulted about representing her, and both Mr.

  Jones and Deborah Stevens confirmed that she would be present for

  her deposition on April 26, 2022. Per Mr. Cassady, Deborah Stevens

  failed to appear for her deposition on April 26, 2022; however,


                                       11
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 12 of 16       PageID #: 1025



  she did appear via Zoom the following day, April 27, 2022, for the

  deposition of non-party Kevin Couch.            In response, Deborah Stevens

  claimed she did not know that her deposition was scheduled,

  although    the     record    contains    a   notice    certifying        that   the

  deposition notice was sent to Deborah Stevens via regular mail and

  email on April 11, 2022.              (Doc. 31).       Deborah Stevens later

  indicated that she was afraid to meet with Mr. Cassady but offered

  no basis for this assertion.

       II. ANALYSIS

         “A court may impose sanctions for litigation misconduct under

  its    inherent     power.”      Eagle    Hosp.    Physicians,      LLC    v.    SRG

  Consulting, Inc., 561 F.3d 1298, 1306 (11th Cir. 2009).                          The

  Court’s inherent power derives from its “need ‘to manage [its] own

  affairs so as to achieve the orderly and expeditious disposition

  of cases.’”     Id. (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 43

  (1991)).     “The key to unlocking a court’s inherent power is a

  finding of bad faith.”        Barnes v. Dalton, 158 F.3d 1212, 1214 (11th

  Cir. 1998). Sanctions authorized under the court’s inherent powers

  include the ultimate sanction of dismissal with prejudice or entry

  of    default   judgment.       See    Martin     v.   Automobili   Lamborghini

  Exclusive, Inc., 307 F.3d 1332, 1338 (11th Cir. 2002) (per curiam)

  (affirming the district court’s imposition of sanctions, including

  dismissal with prejudice).




                                           12
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 13 of 16          PageID #: 1026



        Before a district court imposes the sanction of default

  judgment, the court must find a willful or bad faith failure to

  comply with its orders.         Malautea v. Suzuki Motor Co., Ltd., 987

  F.2d 1536, 1542 (11th Cir. 1993).          However, a court does not need

  to first impose lesser sanctions if those sanctions would be

  ineffective.     Id. at 1544; see also Jackson v. Investigations &

  Sec. Bureau, Inc., 2018 U.S. Dist. LEXIS 219166, at *13, 2018 WL

  4603289, at *4 (M.D. Fla. Aug. 27, 2018) (finding default judgment

  warranted    where     corporate   defendant    failed     to    retain     counsel

  despite numerous warnings of the consequences of not retaining

  counsel); Alexander v. Moore, 2018 U.S. Dist. LEXIS 239969, at *1-

  2, 2018 WL 4677835, at *1 (M.D. Ala. Apr. 26, 2018) (finding

  default     judgment     warranted   as    a    sanction        where    defendant

  disappeared for long periods of time, willfully neglected to update

  the court with her contact information, and showed “little interest

  in the litigation,” thwarting plaintiff’s counsel in discovery and

  reporting obligations and requiring the court to unnecessarily

  expend limited resources); Bolar v. S. Intermodal Express, 2018

  U.S. Dist. LEXIS 158788, at *5, 2018 WL 5116539, at *2 (S.D. Ala.

  Sept. 17, 2018) (“‘District courts possess inherent power to

  sanction errant litigants before them[,]’ including the power to

  dismiss   an   action     for   failure    to   prosecute.”),           report   and

  recommendation adopted sub nom., 2018 U.S. Dist. LEXIS 179588,

  2018 WL 5116093 (S.D. Ala. Oct. 19, 2018); Zow v. Regions Fin.


                                        13
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 14 of 16   PageID #: 1027



  Corp., 595 F. App’x 887, 889 (11th Cir. 2014) (per curiam) (“[I]f

  a party disregards an order despite being warned of the possible

  consequences,     dismissal     is    generally     not    an     abuse    of

  discretion.”).

        Here, Defendants Jason Stevens and Franklin seek a default

  judgment against Defendant Deborah Stevens.         Based on a review of

  the record, the undersigned finds that Deborah Stevens has been

  accorded a great deal of latitude in this case, but her persistent

  failures to comply with the rules of procedure and orders of this

  Court can no longer be tolerated.         She has repeatedly disobeyed

  orders of this Court and has thwarted efforts by the other parties

  to litigate this case.     Despite his best efforts, Deborah Stevens’

  former counsel had no success in getting her to respond to his

  communications and was forced to seek to withdraw from the case

  due to Deborah Stevens’ lack of communication and cooperation.

  When this Court directed Deborah Stevens to secure new counsel or

  advise the Court of her intent to proceed pro se, she did not

  respond as directed.     She also ignored the Court’s order directing

  her to respond to Jason Stevens’ motion to compel.           Moreover, she

  failed to appear for her duly noticed deposition; yet, on the

  following day, she appeared via Zoom for the deposition of Kevin

  Couch, a non-party.      In addition, when counsel for Jason Stevens

  and Franklin placed her on notice of their inability to access the

  link that purportedly contains her discovery responses, she took


                                       14
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 15 of 16   PageID #: 1028



  no steps to address the issue, choosing instead to put them off

  yet again.     At the hearing conducted on May 20, 2022, Deborah

  Stevens arrived more than thirty minutes after the starting time,

  offered no explanation for her tardiness, and offered no legitimate

  explanation for her failure to adhere to the orders of the Court

  and failure to diligently litigate this case.

        Under the circumstances, the undersigned finds that Deborah

  Stevens’ noncompliance has been willful, and that at this juncture,

  there is no reason to believe that any sanction short of a default

  will suffice to correct such conduct. Accordingly, the undersigned

  finds that striking Deborah Stevens’ answer, entering a default,

  and entering default judgment against Deborah Stevens as to the

  proceeds at issue is appropriate under the circumstances. The

  undersigned thus RECOMMENDS that the motions for default judgment

  (Docs. 35, 39) be GRANTED.

                    NOTICE OF RIGHT TO FILE OBJECTIONS

        A copy of this report and recommendation shall be served on

  all parties in the manner provided by law.           Any party who objects

  to this recommendation or anything in it must, within fourteen (14)

  days of the date of service of this document, file specific written

  objections with the Clerk of this Court. See 28 U.S.C. § 636(b)(1);

  Fed. R. Civ. P. 72(b); S.D. Ala. GenLR 72(c).           The parties should

  note that under Eleventh Circuit Rule 3-1, “[a] party failing to

  object   to   a   magistrate    judge’s   findings     or   recommendations


                                       15
Case 1:21-cv-00484-TFM-B Document 55 Filed 06/06/22 Page 16 of 16   PageID #: 1029



  contained in a report and recommendation in accordance with the

  provisions of 28 U.S.C. § 636(b)(1) waives the right to challenge

  on appeal the district court’s order based on unobjected-to factual

  and legal conclusions if the party was informed of the time period

  for objecting and the consequences on appeal for failing to object.

  In the absence of a proper objection, however, the court may review

  on appeal for plain error if necessary in the interests of justice.”

  11th Cir. R. 3-1.

        In order to be specific, an objection must identify the

  specific place in the Magistrate Judge’s report and recommendation

  where the disputed determination is found.             An objection that

  merely incorporates by reference or refers to the briefing before

  the Magistrate Judge is not specific.

        DONE this 6th day of June, 2022.

                                                  /s/ SONJA F. BIVINS
                                            UNITED STATES MAGISTRATE JUDGE




                                       16
